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                     IN THE UNITED STATES DISTRICT COURTj S. DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEX/
                              BEAUMONT DIVISION                      DEPUTY
 UNITED STATES OF AMERICA                  §
                                           §         No. l:19-CR-fo
 v.                                        §                       fi ld
                                           §
 TAVORIS BOTTLEY                           §

                                      INDICTMENT

THE GRAND JURY CHARGES:

                                        Count One
         (Violation: 18 U.S.C. § 242, Deprivation of Rights Under Color of Law)


       A. AT ALL TIMES MATERIAL HEREIN:

        1. The United States, Federal Correctional Complex (FCC), in Beaumont,

Texas, is a federal correctional facility within the Eastern District of Texas.

       2. The defendant, Tavoris Bottley, was employed by the Federal Bureau of

Prisons and served as a Senior Correctional Officer at FCC Beaumont.

        3. On June 8, 2017, defendant Tavoris Bottley was on duty as a Senior

Correctional Officer at FCC Beaumont.

       4. On June 8, 2017, A.A., a person known to the grand jury, was a federal

inmate imprisoned at FCC Beaumont.

       B. THE OFFENSE:

        5. On or about June 8, 2017, in the Eastern District of Texas, the defendant,

Tavoris Bottley, while acting under color of law, willfully deprived A.A. of the right,
    Case 1:19-cr-00065-TH Document 2 Filed 05/01/19 Page 2 of 4 PageID #: 3



secured and protected by the Constitution and the laws of the United States, to be free from

cruel and unusual punishment by one acting under color of law, to wit: defendant Tavoris

Bottley assaulted A. A. without any lawful justification by punching A. A. in the head three

times. The offense resulted in bodily injury to A.A.

       All in violation of Title 18, United States Code, Section 242.

                                        Count Two
                    (Violation: 18U.S.C. § 1519, Falsification ofRecords)

       5. Paragraphs 1 through 4 of Count One are realleged and incorporated by

reference herein.


       6. On or about June 8, 2017, in the Easte District of Texas, the defendant,

Tavoris Bottley, acting in relation to and in contemplation of a matter within the

jurisdiction of the United States Department of ustice, Office of the Inspector General, an

agency of the United States, knowingly falsified a document with the intent to impede,

obstruct, and influence the investigation and proper administration of the matter within

federal jurisdiction. Specifically, defendant Tavoris Bottley falsified a Federal Bureau of

Prisons Incident Report, dated June 8, 2017, for a use of force incident involving A. A., by

omitting the material information that defendant Tavoris Bottley punched A. A. in the head

three times and falsely citing A.A. for an attempted assault.

       All in violation of Title 18, United States Code, Section 1519.
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                                         A TRUE BILL



                                         GRAND JURY FOREPERSON



JOSEPH D. BROWN
UNITED STATES ATTORNEY




Assistant United States Attorney
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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            BEAUMONT DIVISION

 UNITED STATES OF AMERICA             §
                                      § No. 1T9-CR- ?
                                      §
                                      §
 TAVORIS BOTTLEY                      §
                                      §

                               NOTICE OF PENALTY

                                     Count One

Violation: 18 U.S.C. §§ 242

Penalty: Imprisonment of not more than ten (10) years, a fine not to exceed
                 $250,000, or both im risonment and a fine; and a term of supervised
                 release of not more than three (3) years.

Special Assessment: $ 100.00

                                    Count Two

Violation: 18 U.S.C. § 1519

Penalty: Imprisonment of not more than twenty (20) years, a fine not to exceed
                  $250,000, or both imprisonment and a fine; and a term of supervised
                  release of not more than three (3) yea s.

Special Assessment: $ 100.00
